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                       EXHIBIT 23
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                        UNITED STATES MARINE CORPS
                               t,1.ARINE P.,\!DBR SUPl?OR'I' GROUP
                        MARINE FORCRS Sl?EC'.l:AL OPERAT!ONS COMM.AlJD
                                       PSC BOX 20117
                               CAMP Lll'.JEUNB NC 28542-0117

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                                                                         5800
                                                                         JKM

  From:   Major Joshua Mast, USMC                                           JUN ·1 6 2022
  To:     Commander, Marine Forces Special Operations Command

  Subj:   THIRD REQUEST TO TESTIFY ON MY DAUGHTER'S BEHALF INA VIRGINIA
          STATE PROCEEDING

          (a)  DoDD 5405.2
          (b)  SECNAVINST 5820,8A
          (c)  Maj Mast Ltr dtd 17 May 2022 {1st Touhy Reguest)
          (d} MARSOC COS LTR dtd 18 May 2022 {'.l'ouhy Approval)
          (e) MARSOC cos LTR, dtd 7 June 2022 (Touhy Rescission)
          (f) Maj Mast Ltr dtd 7 June 2022 {2nd Touhy Request)
          (g} l\'IARSOC DCOS LTR, dtd 9 June 2022 (2nd Touhy Approval)
          {h) MARSOC CDR LTR, dtd 9 Jun 2022 {Additional Restrictions)
          ( i) MARSOC DCOS memo of 9 June 2022 (2nd Touhy Rescission)

  Encl~   (1) Specific Risk of Harm Letter

 BLUF: Request my daughter's best interests be considered in evaluating
 what official inforrnation is appropriate to autho:r:·ize for release for
 consideration in a Virginia Circuit Court.

 1 . Pursuant to the references, this is my third request for approval
 to testify and provide relevant unclassified testimony/documents on my
 daughter's behalf in a Virginia Circuit Court custody proceeding in
 defense of her adoption. This request is only applicable to Official
 DoD information authorized for release by the Commander pursuant to
 the references. 1 request that all previous guidance be superseded by
 the Cornmander's endorsernent of thia request in order to ensure I
 comply with the Commander's intent.

 2 . As background, Redacted was recovered at approximately six weeks old
 from an Al Qaeda foreign fighter compound containing multiple
 barricaded shooters . She suffered a fractured skull, fractured femur,
 and second degree burns on her face and neck in September 2019.
 Enclosure (1).

 3. Per enclosure (3), paragraph (4) (a l {1) of reference {b), the first
 General Court Martial Convening Authority {GCMCA) in my chain of
 command, or his designee, is the approval authority for this request.

 4 . Per reference (a) and as articulated in reference (b}, the U.S.
 Government's default policy for Touhy requests is "to make factual
 official information, bath testimonial and documentary, reasonably
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  available for use in Federal courts, state courts, foreign courts, and
  ether governmental proceedings unless that information is classified,
  privileged , or otherwise protected from public disclosure. 11

  5. In addition to the required information regarding the proceeding
  and case posture p reviously subntltted, the following information is
  added:

      a. I request that all official information relevant to the best
  interests of my daughter be provided to the court. Thi s includes my
  factual 1 non-expert testimony and unclassified, non-privileged
  information regarding:

          i.    Declassified information :regarding my daughter's origin
  and circumstances of her recovery, to include Enclosure (1) {a portion
  of her med:i.cal record) which was created by Redacted medical providers
  to document her injuries, anticipated medical requirements, and source
  of origin .

         .1.1. Unc lassiffed knowledge of ho<1t Plaintiff' s family , my
  interpreter's three minor siblings 1 and my daughter were evacuated
  from Afghanistan and arrived in the United States.

         iii. unclassified information relating to testimony the
  Plaintiffs are reasonably anticipated to elicit in order to atteropt to
  present their case, to avoid further delays.

           iv. ~.ny necessary records custodian certification to
  authenticate information in section i-iii to avoid having to call the
  custod:î.an as a witness at trial.

      b. These issues are relevant to the hearing as discussed in
  references (c} and (f).

  6 . I respectfully r equest that this supplement, and a standing
  invitation to address additional concerns, be considered sufficient to
  allow me to successfully defend against these baseless claims at
  future hearings that may be ordered by the court.

  7. If the Government provides all information relevant to my
  daughter's best interest, the Plaintiffs' case will be dismissed. 'This
  is why their attorneys are attempting to invoke the power of the
  government t o suppress relevant evidence and my testimony.

  8,   The point of contact for this matter is Major Joshua K. Mast, at
  (910) 440-0925.                     ')-



                                  )    J. K.   MAS;

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